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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC.,                                  )
                                                        )
                                Plaintiff,              )
                                                        )    Civil Action No. l:17-cv-11008-MLW
                        v.                              )
                                                        )
CELLTRION HEALTHCARE CO., LTD.,                         )
CELLTRION, INC., and                                    )
HOSPIRA, INC.,                                          )
                                                        )
                                Defendants.             )
                                                        )
                                                        )


         ASSENTED-TO DEFENDANTS’ MOTION FOR LEAVE TO IMPOUND
              CONFIDENTIAL PORTIONS OF JOINT REPORT AND
                       EXHIBITS TO JOINT REPORT

        Pursuant to Local Rule 7.2(d) and the Stipulated Protective Order (Dkt. 170) in Janssen

Biotech, Inc. v. Celltrion Healthcare Co., Ltd. et al. No. 15-10698 (D. Mass), Defendants

Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira, Inc. (collectively “Defendants”),

hereby move this Court for an Order to impound or otherwise seal the following documents, on

the ground these documents contain or reveal Plaintiff’s, Defendants’, or third parties’

confidential and proprietary information:

    •   Joint Report (filed as C.A. No. 17-11008 Dkt. 33);1

    •   Exhibit 2 to the Joint Report, Plaintiff’s Interrogatories to Defendants (filed as C.A. No.
        17-11008 Dkt. 33-2);

    •   Exhibit 3 to the Joint Report, Plaintiff’s Requests for Production of Documents to
        Defendants (filed as C.A. No. 17-11008 Dkt. 33-3);


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        The Joint Report contains redactions from both Plaintiff and Defendants. With regard to
        Plaintiff’s redactions, Plaintiff joins in this Motion. In all other regards, Plaintiff assents
        to this Motion.
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   •   Exhibit 4 to the Joint Report, Plaintiff’s Responses to Defendants’ Interrogatories on
       Damages (filed as C.A. No. 17-11008 Dkt. 33-4);



       Defendants filed a publicly available, redacted version of the Joint Report and the

Exhibits through the electronic filing system.

       WHEREFORE, Defendants Celltrion Healthcare Co., Ltd., Celltrion, Inc., and Hospira

Inc. respectfully request that this Court allow this Motion.

Dated: August 21, 2017                           Respectfully submitted,

                                                 Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                                 and Hospira, Inc.

                                                 By their attorneys,

                                                 /s/Andrea L. Martin, Esq. ______________
                                                 Dennis J. Kelly (BBO # 266340)
                                                 Andrea L. Martin (BBO #666117)
                                                 BURNS & LEVINSON LLP
                                                 125 Summer Street
                                                 Boston, MA 02110-1624
                                                 Telephone: 617-345-3000
                                                 Facsimile: 617-345-3299
                                                 dkelly@burnslev.com
                                                 amartin@burnslev.com

                                                 James F. Hurst, P.C. (pro hac vice)
                                                 Bryan S. Hales, P.C. (pro hac vice)
                                                 Elizabeth A. Cutri (pro hac vice)
                                                 KIRKLAND & ELLIS LLP
                                                 300 North LaSalle
                                                 Chicago, IL 60654
                                                 Tel: (312) 862-2000
                                                 james.hurst@kirkland.com
                                                 bryan.hales@kirkland.com
                                                 elizabeth.cutri@kirkland.com

                                                 Ryan Kane (pro hac vice)
                                                 James McConnell (pro hac vice)
                                                 KIRKLAND & ELLIS LLP
                                                 601 Lexington Avenue
                                                 New York, NY 10022

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                            ryan.kane@kirkland.com
                            james.mcconnell@kirkland.com


                            Charles B. Klein (pro hac vice)
                            WINSTON & STRAWN LLP
                            1700 K Street, N.W.
                            Washington, D.C. 20006-3817
                            Tel: (202) 282-5000
                            cklein@winston.com

                            Samuel S. Park (pro hac vice)
                            Dan H. Hoang (pro hac vice)
                            WINSTON & STRAWN LLP
                            35 W. Wacker Drive
                            Chicago, IL 60601-9703
                            Tel: (312) 558-7931
                            spark@winston.com
                            dhoang@winston.com

                            Attorneys for Defendants Celltrion Healthcare
                            Co., Ltd., Celltrion, Inc., and Hospira, Inc.




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                                 LR 7.1(a)(2) CERTIFICATION

       I, Andrea L. Martin, hereby certify that Defendants’ counsel conferred with Plaintiff’s
counsel regarding this motion; Plaintiff assents to this Motion and joins in part.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.



                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants on August
21, 2017.

                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.

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